Case 1:14-cv-Ol783-PAE DocumentZ Filed 03/14,|{14';-]§_’@:§@§43

JUDGE ENGELMAYER
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In the Matter of the Arbitration
Between

 

 

TUBE CITY IMS, LLC

Petitioner,

 

-against-

PETITION TO CONFIRM
ARBITRATION AWARD

ANZA CAPITAL PARTNERS LLC,

 

Respondent

 

Petitioner Tube City IMS, LLC, by its undersigned attorneys, petitions the Court to

confirm an arbitration award and grant petitioner prejudgment interest, alleging as follows:
THE PARTIES AND JURISIDCTION

l. Petitioner Tube City Il\/IS, LLC (“Tube City” or “Petitioner”) is a limited liability
company organized under Delaware laW.

2. As a limited liability company, Tube City’s citizenship is determined by its
members. Tube City has one member, Tube City IMS Corporation, Which is a Delaware
corporation With a principal place of business in Glassport, Pennsylvania.

3. Petitioner Tube City is thus a citizen of Delaware and Pennsylvania.

4. Respondent Anza Capital Partners LLC (“Anza Capital”) is a limited liability
company organized under Delaware law With a principal place of business in NeW York, New
York.

5. As a limited liability company, Anza’s citizenship is determined by its members.
Upon information and belief, Anza Capital has one member, Joseph Anza, Who is a citizen of
Connecticut.

6. Respondent Anza Capital is thus a citizen of Connecticut.

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7. This Court has jurisdiction over this Petition pursuant to 28 U.S.C. § l332(a)(2)
because the Petitioner and Respondent are citizens of different states and the amount in
controversy exceeds $75,000, exclusive of interests and costs.

8. Venue is proper in this court pursuant to Section 9 of the Federal Arbitration Act
because the arbitration award that is the subject of this Petition was rendered in this district.

FACTUAL BACKGROUND

9. On October 5, 2012 Petitioner filed a request for arbitration with the International
Chamber of Commerce’s International Court of Arbitration.

10. The arbitration was captioned Tube City IMS, LLC v. Anza Capz`tal Partners LLC
and assigned case number 1899l/VRO/ARG (the “Arbitration”).

ll. The Arbitration arose from an agreement between the parties, the Sales and
Purchase Contract dated March 9, 2010 (the “Agreement”) for the purchase of certain scrap
metal goods. A true copy of the Agreement is attached hereto as Exhibit A.

12. Pursuant to the Agreement, Petitioner purchased the scrap metal goods from
Respondent, and Respondent shipped the goods from Puerto Rico and the Dominican Republic
to Taiwan.

13. In April 2010, Respondent issued three invoices to Petitioner totaling $90,703.94.

14. In May 2010, Petitioner paid Respondent $90,703.94.

15. In June 2010, Petitioner paid Respondent another S90,703.94, inadvertently
remitting payment for the three invoices a second time.

16. Despite Petitioner’s repeated attempts to recover the overpayment, Respondent

refused to return the funds to Petitioner.

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17. Article 13 of the Agreement provides that any unresolved disputes between the
parties are to be “submitted to the International Chamber of Commerce in New York.” (See
Exhibit A at 4.)

18. Article 13 of the Agreement further provides that “the losing party will pay the
arbitration fee” and that “the award of arbitration shall be final and binding on both parties.”
(Ia'.)

19. Petitioner commenced the Arbitration to recover $90,703.94, the amount of`
Petitioner’s overpayment improperly retained by the Respondent, as well as costs and fees.

20. The Arbitration tribunal consisted of a single arbitrator, Emma Lindsay, Esq. of
Simpson Thacher & Bartlett LLP.

21. A hearing took place on August 1, 2013.

22. Pursuant to Article 14 of the Agreement, the tribunal applied “the laws of New
York State . . . interpreted in accordance with the rules of the International Chamber of
Commerce . . .” (See Exhibit A at 4.)

23. On February 19, 2014 the tribunal issued a Final Award (the “Award”). A true
copy of the Award is attached hereto as Exhibit B.

24. The tribunal found that Petitioner paid $90,703.94 in excess of the invoices issued
by Respondent and ordered Respondent to pay that amount to Petitioner “forthwz`th upon
notification of this award.” (See Exhibit B at 22-23.)

25. In addition, the Award granted “[t]he costs of the arbitration fixed by the ICC
Court in the sum of $50,000.00” and Petitioner’s “reasonable legal and other costs in the sum of
$87,022.00.” (Exhibit B at 23.)

26. In total, the tribunal awarded the Petitioner the sum of` $227,725.94.

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27. To date, Respondent has not remitted any payment to Petitioner or otherwise
satisfied any portion of the Award.

28. This Petition is authorized under Section 9 of the Federal Arbitration Act Which
provides in pertinent part that the prevailing party in an arbitration may apply for an order
confirming the award, and that the court “must grant such an order unless the award is vacated,
modified, or corrected” as provided elsewhere in the Act.

29. Respondent has not made any application to vacate or modify the Award; nor is
there any basis for Respondent to do so.

30. This Petition is timely as it has been filed within one (1) year after the Award was
issued.

31. No prior request has been made for the relief sought herein.

WHEREFORE, Petitioner prays that this Court issue an Order:
a. confirming the Award;
b. entering judgment on the Award in favor of Petitioner and against Respondent
for $227,725.94, together with interest from the date of the Award;
c. awarding costs and disbursements incurred in bringing this Petition;
d. awarding reasonable attorneys’ fees; and
e. granting Petitioner such other and further relief as the Court deems just and

proper.

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Dated: New York, New York
March 14, 2014

SHER TREMONTE LLP

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By: iff/wl ` ,-;,i 1"~
,--/ Justin M. Sher y
Justin J. Gunnell
80 Broad Street, Suite 1301
New York, New York 10004
Tel: 212.202.2600
Email: jsher@shertremonte.com
Email: j gunnell@shertremonte.com

Attorneysfor Petitioner Tube Cily IMS, LLC

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EXHIBIT
A

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Anz» Capital, Part ers

SALES & PURCHASE CONTRACT

DATE OF ISSUE: March 9, 2010
C()NTRA-C'I` NUMBER: C02252010

_This contract is for the sale and purchase ol` Sc.rap Metal H.MSl&Z and is not to be freely circulated and
rs only for the purpose of this transaction (“Contrac't”).

'l`his Contract is made and entered into on this March 9, 2010 with tenns and conditions by and between
following parties under lncoterms 2000.

A-S 'l`HE BUYE'R:

Company: Tube City lMS. LLC
A.ddress: 12 Mononghela Avenuc, Glasspon, PA15045 USA

 

AS Tl-lE SELLER:

Company: Anra Capital Partners l,LC.

Address; 333 East 45‘*‘ strea., suite 26A, NY, NY 10017 uSA
'l'elephone: +l .91 74763.1338

Fax; +1.888.546.6`193

Email: joseph.anza@anzacp..com

chrcsented By: Joseph V. Anza

Federal 'l`ax l[) #: 26-3 876277

Whercas the seller with full corporate authority and responsibility certifies, represents, and wan'ants that
it can fulfill the requirements of this agreement and provide product referred to herein in time and for the
terms agreed upon thcreaf!er.

threas thc buyer hereby makes and confirms that theyA are rcady, Willing and able to purchase the
following described commodity under the terms and conditions as hereunder, subject to execution of.the
contract l"or thc purchase ol` the said commodity, upon consideration of the mutual agreement. promise._
bcnclit and terms ol` this commercial agreement and valuable consideration of` the benefit which is
herebyl acknowledged ‘l`hc parties do hereby agree and covenant as to honoring the following terms and
conditions o'l" this Contract.

Whereas the Seller agrees to sell and Buyer agrees to buy HMS l & 2 ("‘the Goods”) in accordance with
the specifications to the present contract rl`he price given is in United States Dollars, per Metric Ton, as
per the lnternational Chamber of Commerce - UCP 600 (ICC 600/2007 rev-ision).

ARTICLF. 01 - ()UANTITY

333 East 45"` Street, Suite 26A - New York, NY 10017 USA ¢ t: +1.917.753,1338 - f: +1.888.546.6193
www.anzacp.com

Strictly Prlvate & Conl`\dential

SELLE'R: BUYER: Pagc l of 7

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Anza Capital Part crs

l. Quantity: 500 M.T (+/- 5% allowed) From San Juan` Pncrto Rico
SOOMT (+~/- 5% Allowed) l"rom Caucedo, Dominican Republic

2. Quantity/Wcight ot` the Commercial lnvoi.ce will be based on Certifications ol`Wei`gh.t issued
by the Port authority

ARTICLE 02 - PRICE AND CO,N'I`RACT VAL'UE
l. llnit price: USD $ 375 per `M'l` CFR Kaohsiung, Taiwan
2, Total valuc: `USD $ 375,000 (_+/- 5%)
3. Paymen_t is in United States. Dollars

4, Above mentioned price and total value are understood as per lncoterms 2000

ARTICLE 03 - QUALITY AND SPECIFI`CATIONS

Cornmodity: lleavy melting steel scrap l'lM`Sl &2 as per attached photos
¢ l'lMSl as per ISR.I Code No.200-201-202
o HMSZ as per lSRl Code No.203»204-205-206

- ll\/tust be totally free from toxic chcrnical‘ radioactive matcrials, inflammables, expl_osivcs,
organic matters originated l`rom animals or plants with danger ol`cpidemic diseases and medical
waste l`.€xcess molten stccl._ slugs. steel shavings and trimmings are not acceptable

- Must be totally free from bullets, bombs, arms, ammunitions, torpedoes, mines. shells,
cartridges, seal containers or tanks or envelops, gas cylinders, explosive shells or explosive
material in any form

- M.ust be free l`rorn admixtures such as slag, dross, trash, lubricant, grease`, rubbcr, plastic, oil
parts, alloy, asphalt, wood, chemical and other impurities and nonmetals.

» impurities and non-metals including floor dusts are not more than 0.5% of total weight of each
cargo.

ART.I,C L`E 04 ~ PAC.KING AND SHlP`M`EN'I`

l. Packing: 401:""1` containers Each container must contain a minimum of 24.51\/1'1`.

2. 'l`errn o:l` Delivery; Cl""R Kaohsiung,'l`aiwan (Incoterms 2000)

3. l’ort of Loading: San .luan, Puerto Rico and Cauccdo. Dominican Republic

4. Port ol` Discharge: Kaohsiung. Taiwan

5. l)elivcry Period: Dclivery to commence within 14 days of receipt of workable L/C and be

completed within 30 days of commencement

ART`ICLE 05 - }NSPECTION

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Anza Capital Part ers

. Buyer or Buyer Representative is permitted to perform inspection during loading

Scller will provide the Buyer by entail with at least 6 photos of each container organized as a zip file
with container number as file name prior to payment

a, l"" photo shows empty container with 2 doors open (with container number clearly visible)
taken at the point of loading, before start o'l` loading
2"‘l photo shows 25% loaded container (with container number clearly visiblc_)
3"1 photo shows 50% loaded container (wit`h container number clearly visible)
4lh photo shows 75% loaded container (with container number clearly visiblc)
5"' photo shows fully loaded container with one door open- one door closed showing
container number

f. 6‘h photos shows container with closed doors with Seal
Seller will include a scanned copy of the Weig,ht Slip from the Port in the above-mentioned zip tile
per container

?‘PP'

5

ARTlCL\i`. 06 - PR()CE.D'URES

¢-J\hb)!\)r-'

Signing of Contract by both Buyer and Seller

Buyer entails Dral`t l,C

Buyer will issue an irrevocable DI;C to Seller`s bank

Shipment Comtncnees

Seller will email to Buyer Commercial invoice Paeki~ng I..ist, Copy of Bill ol` l.ading. loading
Photos, scanned copy oi.` Weight Slip and scanned copy oi` the Receipt l"rom Pon' Authority

AR'I`ICLF. 07 - 'I`ERMS OF PA’YMENT

l.
2.

Buyer Will issue an irrevocable and conlirmable l`)[.C to Seil.cr"s bank.
A,ll banking charges at the seller’s bank are for the seller`s aecourtt, at the buyer’s bank for the
buyer’s accoun§

ARTICI,E 08 - DO(.`UMEN'|`S FOR PAYM§NT

l.
?..

_"~.

l*`ull set ot` 3/3 Original. Clean on Board Bi.l.l of lading Marked “lireight l’repaid". setting forth the
weight in Metrie 'l"ons. evidencing shipment from loading Port to l)iseharging l’ort

Seller’s manually signed and sealed Commercial lnvoicc based on net weight issued by the Scl,ler in
03 (thrce) originals

l’acking list showing Contract number. net quantity/weight and gross quantity/weight for each
eontainer. total number ol`containers. container numbers and seal numbers, shipment number in case
o|` partial shipment and name ot`t:arrying vessel in 03 (three) originals

AR'I`ICLE 09 - BANK DE'|`AILS

BUYER’S BANK:

333 Ea$t 45th Street, Suite 26[-\ * New York, NY 10017 USA l tt +1.91"7.763.1338 ‘ fl +1.888.546.6193
WWW.BHZBCP.COM

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Anz»».

Banlt namc:
Addres.<;:

Swift Code:

ABA Nurnber:
Ae.cnunt Nttmber:
Acenunt llolder:

Capital Part ers

SELLER’S BANK':
Bank name: }PMorgan Chase, NA
Addresv': 1 United Nations 'Plaza New York, NY 10017 USA
Swi‘t`t Code: CllAS[lS33
ABA Number:
Account Numbe_r: 0()0000778073 775
Account l-Iolder: Anza Capital Partners LLC

ARTICLE 10 - CLA]M

ln any event el` l"aults nl` quality auditor weight ol` goods` the Buyer shall make claim to the Selle.r within
20 days from thc arrival date at discharge purt. A survey will be conducted by a Marine Ce.rtitied 3“]
partyf inspection company who will issue an original certificate ot`quality. weight!quanlity at discharging
port which will be submitted tn the Seller as evidence Thc remittance will be applied, if any.

Quality discrepancy and penalty to be determined between Buyec and Scller.

AR'I`ICLE 11 - FA[LURE/LATE DELIVERY

Should the seller fail to deliver the first-shipment owing to causes other than Force Maje.ure as provided
in clause `["`orce Majeure of this eonu'aet, the buyer or seller has the right to cancel this contract but buyer
may agree to give the seller a grace period of 05 ({ive) days for delayed shipment

AR'I‘K:LE lzL.- GovLRNlNG LAw

'l`he contract will be subject to the laws of New York State (Bronx County) in the USA and will be
governed and interpreted in accordance with the rules of the international Chamber of Commerce (lCC')
and subject to the interpretation of lncoterms 2000 edition

ARTICLE 13 - ARBITRATION

l. `l`l\e parties hereby agree to settle all disputes amicably. lf settlement is not reachcd, the dispute in
question shull be submitted to lnternationnl Chamber ol" Commerce in New York.

`l`he losing party will pay the arbitration t`ee. lt is understood that in the event of dispute of
arbitration linglish shall prevaill

The award o.l`arbitralion shall be linal and binding on both parties

I~J

!JJ

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SELLER; BUYER§ q Pagc 4 ol"§"

~‘VW\

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Anza Capital Part crs

AR'I`ICLE .14 - MISCELLANEO US

]. Upon signing this contract by buyer or seller or authorized representative all previous negotiations
and also all previous correspondence is to be considered null and void.

2. (`.hanges to the terms and conditions ot` this contract must be in writing and agreed to in writing by
all parties involved

3. rl`his contract shall be legal and binding upon electronic signature cl` faxedJc-mail copies (`[’[)F
icmiat).

4. iarbon copies cannot be used and will not be accepted

5. [`)ocument other than English language are acceptable if also accompanied by proper translation into
linglish language

6. All supervision and fees or levies at the Port of Lo'a'ding are for the Seller`s account

7. Partial shipment is allowed

8. '.l`ransshipment is allowed

ARTICLE 15 - CONFII)ENTIALITY. NON-CIRCUMVI§§TION AND NON-DISCLOSURE

'l"he Panies accept and agree to the provisions ot` the lntcrnational Chamber of t`.ommerce. Geneva.
Switzerland i`or Non~Disclosure and Non-Circum.vention with regards to all parties involved in this
transaction and Contract. additions renewals and third party assignments with full reciprocity f or a
period o|`tive (5) years from the date ol` execution ol` this Contracl. l’rovision includes but is not limited
to the Buycr_. Seller, Agents, Mandates. Nominces, Assignccs and all intermediary parties to this
Contract

ARTICLE 16 - FORCE MA.IEURE

lo the event ol` any strikes, act of God. war. warlike operations force majeurc. lock-out, combination ol"
workmen, interference of trade union. suspension of labor. fire accident. or of any other case whatsoever
beyond thc control ol` Sellcr or Buycr whether of the foregoing nature or not, preventing them or
hindering them or either ol` them from giving or receiving thc delivery under this contract shall be
suspended during such time provided any such inability by either party contracting hereto Buyer giving
notice under this clausc, the contract shall be each time extended for a period equal to the period ot`
suspensionl But i|` such period ot` suspension extends for more than 90 days, thc party having received
the notice ol` suspension shall have a right to terminate contract forthwith by giving notice ol` this to the
other party.

ARTICLE 17 - EOUITY

in entering into this contract_. Seller and Buyer recognize that it is impractical to make provision ibr
every contingency that may arise during the life of this contract Sellcr and Buycr concur in the principle
that this contract shall be carried out between the two parties with l`aimcss and without detriment to the
interests ol`cithcr party. and il` in the course of the performance ol` the contract any infringement ol` this

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SELLER: BUYER:/?`WM Pag,e 5 ol"f

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Anz

principle iss-anticipated or disclosed, then Seller and Buycr shall promptly confer in good faith with each
other to agree upon such and action as may be necessary to remove the clause or clause ol" such
infringement

Capital Part crs

ARTICLE 18 - VALIDITY

Upon approvals ot` parties by signing the contract, the parties agree With all terms and conditions of the
contract The contract comes into effect when both Scllcr and Ruyer sign the Contract. liHTective Date of
Contract is the last date when either party has Signcd'. Contract has been issued, signed and sealed on a
total of six (6) pages.

BY SIGNI.NG BELOW THE PARTIES HEREBY E`NTER lN'I`O THIS AGREEMENT

 

 

FO.R THE BUYER F()R THE SELLER
Anza Capital Partners LLC
Signature ~/ Seal Signature / Scal
_ _ _ _ _ rt . /?
_ llc q L_‘ l ila M-""l w k
__ ‘ ,TiTMANA€“(N`é mike Tr,£ __ J_oseph V. Anza, Managing Parrner
Date: March 9` 2010 6 51 4 gm ,/c“',z§/P Datc: March 9. 2010

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l. Bill of Lading:

Shipper:

Notify:

Consignee:
Markcd:

Specification:

 
 

Anz»: Capital Part ers 1
APPEN'DIXA

Anza_Capital Partn.ers
333 Easc 45“‘ screen suite zsA
New ank, NY 10017 US_A

Freight Prepaid

Fcrrous Scr`ap Metal

2. invoice to be made to:

Buyer:

Buyer name, address, phone, fa-x, entail

3. 'I`he original documents should be sent to:

BANK N`AME:
ADDRESS:

ACCOU;N'I` NO.:

NAME:
SW'IF'I` CODE:
'l`E`L.:

FA-X:

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BUYER: W`_,~ |’ag.c 701`7

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EXHIBIT
B

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'l@@

|nternationa| Chamber of Commerce
Tbe world business organization

 

lntemational Court of Arbitration o cour internationale d’arbitrage

AWARD

lCC lnternatlonal Court of Arbitration o Cour internationale d'arbitrage do la CC|
38 Cours A|bert 1er. 75008 Paris, France

Te| +33 (0)1 49 53 28 28 Faxes +33 (0)1 49 53 29 29 / +33 (0)1 49 53 29 33

E-mai| arb@lccwbo.org Website www.iccarbitration.org

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ICC INTERNATIONAL COURT OF ARBITRATION

CASE No. 18991/VRO/AGF

TUBE cITY IMS, LLC
(U.s.A.)

vs/

ANzA cAPITAL PARTNERS LLC
(U.s.A.)

This document is an original of the Final Award rendered in conformity with the
Rules of Arbitration of the ICC lnternational Court of Arbitration.

 

 

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INTERNATIONAL CHAMBER OF COM]VIERCE
INTERNATIONAL COURT OF ARBITRATION

CASE No. 18991/VRO/AGF

BETWEEN:
TUBE CITY IMS, LLC (U.S.A.)
(Claimant)
-and-
ANZA CAPITAL PARTNERS LLC (U.S.A.)
(Respondent)

 

FINAL AWARD

 

The Arbitral Tribunal

Emma Lindsay, Esq.
(Sole Arbitrator)

II.

HI.

VI.

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GLOSSARY OF CITATION REFERENCES

 

Sales and Purchase Contract

Sales and Purchase Contract dated March 9, 2010
between Tube City ]MS, LLC and Anza Capital
Partners LLC

 

 

 

 

 

 

 

 

 

 

 

 

 

RFA Claimant’s Request for Arbitration

Answer Respondent’s Answer

Cl. Mem. Claimant’s Pre-Hearing Memorial

Resp. Mem. Respondent’s Pre-Hearing Memorial

Cl. Reply Claimant’s Pre-Hearing_Reply Memorial

Resp. Reply Respondent’s Pre-Hearing Reply Memorial

Cl. PHB Claimant’S Post-Hearing Brief

Resp. PHB Respondent’s Post-Hearing§rief

Unsigned Anza Stmt. Witness Statement of Joseph Anza Eled on July 1, 2013
Final Anza Stmt. Witness Statement of Joseph Anza Hled on July 3, 2013
Hruska Stmt. Witness Statement of Anthony Hruska

Hruska Reply Reply Witness Statement of Anthony Hruska

Rippel Decl. Declaration of Colette ijpel

 

Cl. Aff. of Costs

Affirmation of Costs of J onathan D. Marcus, Esq.

 

Resp. Afi`. of Costs

Affirmation of Costs of Michael Levine, Esq.

 

 

 

 

Ex. Exhibit
TOR Terms of Reference
ICC Rules Rules of Arbitration of the International Chamber of

 

Commerce in force as of January 1, 2012

 

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OVERVIEW OF THE CASE

By its Request for Arbitration dated October 5, 2012, Claimant Tube City IMS, LLC
(“Tube City” or “Claimant”) sought arbitration pursuant to the Rules of Arbitration of
lntemational Chamber of Commerce (“ICC Rules”) of a dispute with Respondent Anza
Capital Parl:ners LLC (“Anza” or '“Respondent”) in connection with a Sales and Purchase
Contract dated March 9, 2010 between Tube City and Anza (the “Sales and Purchase
Contract”).

Under the Sales and Purchase Contract, Tube City and Anza agreed that Anza would sell
and Tube City would purchase Scrap Metal HMS 1&2 (the “goods”) to be shipped from
Puerto Rico and the Doininican Republic to Taiwan. Anza made four shipments of goods
in futil]nient of the contract. The shipments were reflected on Anza’s lnvoices I001007,
1001014, I001018 and 1001019. Tube City’s payments to Anza relating to these
shipments are at the center of the dispute between the`parties.

This arbitration was brought by Tube City to recover money allegedly paid to Anza by
mistake. Tube City claimed that it inadvertently sent Anza a duplicate payment of
$90,703.94 by check dated June 3, 2010 for Anza’s lnvoices 1001007, 1001014 and
IOOl 01 8, which Tube City contended that it previously paid by two wire transfers on May
19 and 20, 2010. Tube City requested compensatory and punitive damages for the
alleged $90,703 .94 overpayment retained by Anza. .

Anza disputed that the check was an overpayment, claiming that it was applied in part to
outstanding-invoices reflecting shipments to Tube City under different contracts between
the parties and in part to an alleged shortfall in Tube City’s payment of Invoice I001019
for the fourth and final shipment made under the Sales and Purchase Contract. Anza
further disputed that it received payment ii'om Tube City for Invoices I001014 and
1001018 by wire transfer on May 19, 2010. Anza requested that Tube City’s claims be
denied in all respects

Both parties requested an award of their reasonable attorneys’ fees and costs.

The central issues before the Tribunal are (a) whether Tube City’s check dated June 3,
2010 was an overpayment by Tube City in respect of Anza’s Invoices I001007, 1001014
and 1001018; (b) if there was an overpaytm ent, whether Tube City is entitled to recover it;
(e) if Tube City is entitled to recover the overpayment, whether the Tribunal has the
power to grant punitive damages as requested by Tube City and, if so, whether an award
for punitive damages is appropriate in this case and What is the quantum of such
damages; (d) what are the costs and expenses of and incidental to this arbitration and how
should such costs be allocated between the parties; and (e) whether legal fees and
expenses are recoverable as part of the costs of the arbitration and, if so, how much is
owed and to which party. '

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THE ARBITRAL PROCEEDINGS
A. The Parties and Their Counsel
1. Claimant: Tube City MS, LLC

Claimant is a limited liability company incorporated in Delaware, U.S.A. Its principal
place of business is located at 12 Monongahela Avenue, Glassport, PA 15045, U.S.A.

Claimant is represented by Jonathan D. Marcus, Esq. of Marcus & Shapira LLP, which
is located at One Oxford Centre, 35th Floor, 301 Grant Street, vPittsburgh, PA 15219,
U.S.A. (tel: +1 412 471 3490; fax: +1 412 391 2315; email: jmareus@marcus-
shapira.com).

2. Respondent: Anza Capital Partners LLC

Respondent is a private limited liability company incorporated in New York, U.S.A. Its
principal place of business is located at 333 East 45th Street, Suite 26A, New York, NY
10017, U.S.A.

Respondent is represented by Michael Levine, Esq. of Levine & Associates, P.C., which
is located at 15 Barclay Road, Scarsdale, NY 10583, U.S.A. (tel: +1 914 600 4288; fax:
+l 914 725 4778; email: ml@levlaw.org).

B. The Agreement to Arbitrate

The parties’ agreement to arbitrate is contained in Article 13 of the Sales and Purchase
Contract. It reads as follows:

1. The parties hereby agree to settle all disputes amicably. If
settlement is not reached, the dispute in question shall be
submitted to International Chamber of Commerce in New
York,

2. The losing party will pay the arbitration fee. It is understood
that in the event of dispute of arbitration, English shall prevail

3. The award of arbitration shall be final and binding on both
parties.

C. The Arbitral Tribunal

The arbitration agreement does not specify the number of arbitrators.` ln its Request for
Arbitration dated October 5, 2012, Claimant proposed that the dispute be heard by one
arbitrator. ln its Answer dated November 14, 2012, Respondent requested that the
dispute be heard by three arbitrators As the parties did not agree on the number of
arbitrators, the International Court of Arbitration of the lnternational Chamber of
Commerce (the “ICC Court”) decided at its session of November 29, 2012 to submit the
dispute to one arbitrator.

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By email of December 17, 2012, Claimant nominated Charles Moxley as Sole Arbitrator.
By email.of December 18, 2012, Respondent objected to Claimant’s proposal. As the
parties did not agree on the arbitrator to be appointed, the ICC Court at its session of
January 24, 2013 appointed Emma Lindsay as Sole Arbitrator upon proposal of the
United Kingdom National Committee following Respondent’s request that a non-U.S.
national be appointed in accordance with Article 13(3) of the ICC Rules.

The contact details of the Sole Arbitrator are as follows:

Emma Lindsay, Esq.

Simpson Thacher & Bartlett LLP
425 Lexington Avenue

New York, NY 10017

U.S.A.

Tel: +1 212 455 3179

Fax: +1 212 455 2502

Email: elindsay@stblaw.com

D. The Terms of Reference
Following appointment of the Tribunal, the Terms of Reference were__ prepared in
accordance with Article 23 of the ICC Rules and signed on behalf of the parties and by
the Tribunal on March 13, 2013.
E. Other Matters Concerning the Conduct of the Arbitration

1. Place of the Arbitration

The place of the arbitration was New York, New York (U.S.A.), as ii_xed by the ICC
Court at its session of November 29, 2012.

2. Applicable Law

The law applicable to the substance of the matters in dispute is specified in Article 14 of
the Sales and Purchase Contract.

Article 14 reads as follows:

The contract will be subject to the laws of New York State (Bronx
County) in the USA and will be governed, and interpreted in
accordance with the rules of the International Chamber of

Commerce (ICC) and subject to the interpretation of Incoterms
2000 edition.

3. Language

The language of the arbitration is English,l as prescribed by Article 13 of the Sales and
Purchase Contract. The proceedings have been conducted in this language

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4. Applicable Procedural Rules

Paragraph 33 of the Terms of Reference states that “[t]he arbitration shall be conducted in
accordance with the ICC Rules of Arbitration in force as from January 1, 2012, except as
otherwise agreed by the parties and the Arbitral Tribunal. In the absence of provisions
therein in respect of a particular procedural issue, `the procedure shall be determined by
the Arbitral Tribunal (after receiving the views of the parties) so as to effectuate an
efdcient procedure and substantial justice among the parties.”

Pursuant to paragraph 34 of the Terms of Reference, the IBA Rules on the Taldng of
Evidence in Intemational Arbitration adopted o_n May 29, 2010 (the “lBA Rules”) have
been used as guidelines to the extent considered appropriate by the Tribu.nal in the
exercise of its overall procedural discretion.

F. Procedural History

On October 5, 2012, Claith filed a Request for Arbitration pursuant to Article 13 of
the Sales and Purchase Contract.

On November 14, 2012, Respondent filed an Answer.

On November 29, 2012, the ICC Court fixed New York,"New York (U.S.A.) as the place
of the arbitration and decided to submit the arbitration to one arbitrator.

On January 24, 2013, the ICC Court appointed Emma Lindsay as Sole Arbitrator upon
proposal of the United Kingdom National Committee.

On March 8, 2013, Claimant filed submissions on its proposed procedural timetable.
On March 12, 2013, Respondent filed submissions on its proposed procedural timetable.

On March 12, 2013, a preliminary case management conference was held among the
parties and the Tribunal to determine'the procedural timetable.

On March 13, 2013, the Terms of Reference were signed.

On March 29, 2013, the Tribunal issued Procedural Order No. 1 setting forth the
procedural timetable for the conduct of the arbitration. ~

On June 14, 2013, Claimant requested that the Tribunal compel Respondent to produce
certain documents.

On June 18, 2013, Respondent objected to Claimant’s request.
On June 19, 2013, Claimant responded to Respondent’s objection.

On June 20, 2013, the Tribunal issued Procedural Order No. 2 setting out its ruling on
document disclosure.

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On June 24, 2013, Claimant filed the Witness Statement of Anthony Hruska (the “Hruska
Statement”).

On July 1, 2013, Respondent filed the unsigned Witness Statement of Joseph Anza (the
“Unsigned Anza Statement”) and Respondent’s Description of the Nature and Scope of
Respondent’s Search for Documents Pursuant to Procedural Order No. 1.

On July 2, 2013, Claimant moved to strike the Unsigned Anza Statement as late fled and
requested that the Tribunal draw an adverse inference fi‘om Respondent’s failure to
produce certain documents

On July 3, 2013, Respondent filed the signed Witness Statement of Joseph Anza, with
amendments to the unsigned version filed on July 1, 2013 (the “Final Anza Statement”),
and Respondent’s Amended Description of the Nature and Scope of Respondent’s Search
for Documents Pursuant to Procedural Order No. 1.

On July 4, 2013, the Tribunal issued procedural directions permitting Claimant to file a
reply witness statement responding solely to matters addressed in the Final Anza
Statement and confirming that, in accordance with Article 9(1) of the lBA Rules, the
Tribunal would determine the admissibility, relevance, materiality and weight of
evidence offered by the parties and draw the inferences and conclusions that it deemed
appropriate after all evidence was presented.

n On July 10, 2013 Claimant filed the Reply Witness Statement of Anthony Hruska (the

“Hruska Reply”).
On` July 16, 2013, Claimant filed its Pre-Hearing Memorial.

On July 17, 2013, Respondent filed its Pre-Hearing Memorial.

On July 26, 2013, Claimant filed its Pre-Hearing Reply Memorial and the Declaration of

Colette Rippel (the “Rippel Declaration”).
On July 26, 2013, Respondent filed its Pre-Hearing Reply Memorial.

On July 29, 2013, Respondent opposed the filing of the Rippel Declaration as
unauthorized and late filed. On July 29, 2013, Claimant responded to Respondent’s
opposition.

On July 30, 2013, Claimant filed additional documents as discovered that day by Ms.
Rippel.

On July 30, 2013, a pre-hearing conference was held among the parties and the Tribunal.

On July 31, 2013, Respondent withdrew its opposition to the filing of the Rippel
Declaration.

On August 1, 2013, the hearing was held in New York, New York (U.S.A.).

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On August 20, 2013, Claimant moved to supplement the evidentiary record with an
additional document

On August 22, 2013, Respondent opposed Claimant’s motion. On August 22, 2013,
Claimant responded to Respondent’s opposition. On August 23, Respondent replied to
Claimant’s response. On August 23, 2013, Claimant commented on Respondent’s reply.

On August 26, 2013, Claimant moved to further supplement the evidentiary record with a
second additional document.

On September 2, 2013, the Tribunal issued Procedural Order No. 3 setting out its ruling
on Claimant’s motion to supplement the evidentiary record.

On September 17, 2013, Claimant filed its Post-Hearing Brief.
On September 18, 2013, Respondent fled its Post-Hearing Brief.
On September 20, 2013, each party filed its Affinnation of Costs.

On October 14, 2013, the Secretariat informed the parties that the Tribunal had been
invited to suspend its work due to the non-payment of the advance on costs.

On November 6, 2013, the Secretariat informed the parties that the advance on costs had
been paid and invited the Tribunal to proceed with the drafting of the award.

On December 31, 2013, the Tribunal declared the proceedings closed pursuant to Article
27 of the ICC Rules.

In accordance with its usual practice, and pursuant to Article 30(2) of the ICC Rules, the
ICC Court extended the time limit within which the Tribunal was required to render its
Award. The last extension was granted by the ICC Court on January 30, 2014 when it
extended the time limit to February 28, 2014.

SUMMARY OF CLAIMANT’S CASE AND REQUEST FOR RELIEF

In summary, Tube City submitted that this is an action for the return of an overpayment
arising out of the Sales and Purchase Contract and a related conversion. It was Tube
City’s position that in 2010 Tube City made duplicative payments to Anza against the
same shipments of scrap metal goods, which shipments were reflected on Anza’s
Invoices I001007, 1001014 and 1001018, and Anza subsequently ignored repeated
attempts by Tube City to recover its $90,703.94 overpayment Tube City submitted that
Anza’s refusal to return the overpayment constitutes conversion under applicable New
York law, for which punitive damages are allowed. Tube City submitted that Anza
should be ordered to return the overpayment and punished for having converted it by an
award of punitive damages.

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In its Post-Hearing Brief`, Claimant stated:

Tube City is entitled to a return of its overpayment to Anza. In
addition, Anza should be punished for its malicious or reckless
disregard for Tube City’s right to the overpayment Anza’s alleged
defenses defy logic and, in any event, come far too late.
Accordingly, Claimant Tube City respectfully requests that
judgment be entered:

(a) awarding Tube City compensatory damages for the
$90,703.94 overpayment unlawfully retained by Anza;

(b) awarding Tube City punitive damages in an amount
sufficient to punish and deter Anza from committing a
similarly outrageous act again;

(c) awarding Tube City its reasonable attorneys’ fees and
costs;

(d) granting such other relief as the Tribunal deems just and
proper.

SUMlV[ARY OF RESPONDENT’S CASE AND REQUEST FOR RELIEF

In summary, Anza submitted that there was no overpayment by Tube City. It was Anza’s
position that the majority of Tube City’s check for $90,703.94 was applied to prior
balances due for shipments by Anza to Tube City that preceded Anza’s receipt of the
check, which shipments were reflected on Anza’s Invoices I001016, I001020 and
1001021. Additionally, Anza submitted that on one occasion after a particular order was
placed by Tube City and placed in transit by Anza, the market price for the commodity
purchased decreased and Tube City refused to comply with its contractual obligation to
take delivery of the purchased goods unless Anza agreed to a reduced price. Anza
claimed that it agreed to the same under economic duress and was therefore entitled to
apply the remainder of Tube City’s check in respect of this order, which was reflected on
Anza’s Invoice 1001019. Finally, Anza submitted that neither the Sales and Purchase
Contract nor New York law permits an award of punitive damages and this Tribunal is
otherwise without jurisdiction to entertain any such claim.

In its Post-Hearing Brief`, Respondent stated:

ACP respectfully requests that (i) the Claimant’s claim be denied
in all respects, (ii) administrative costs and arbitrator’s fee of this
proceeding be apportioned 100% to, and borne solely by,

 

Cl. PHB at 14.

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Claimant; and (iii) ACP be awarded its reasonable attorney’s fees
and costs.2

ISSUES TO BE DETERM]NED

Based on the parties’ submissions and the evidence presented, the Tribunal is required to
decide the fe1lewingissues.3

a. Was Tube City’s check dated June 3, 2010 in the amount of $90,703.94 an
overpayment by Tube City in respect of Anza’s Invoices I001007, 1001014 and
I001018? Specifically, (i) had Anza already received payment from Tube City for
these invoices, in particular through a wire transfer of $62,307.67 on May 19,
2010 in respect of Invoices I001014 and 1001018, when it received the check;4
and (ii) was the check accompanied by any document or documents indicating
that the payment was made in respect of Invoices 1001007, I001014 and I001018?

b. If there was an overpayment, is Tube City entitled to recover it? In particular, (i)
does a delay of several months by Tube City in notifying Anza of the
overpayment preclude its recovery“, (ii) did Anza properly apply the majority of
the funds nom Tube City’s check to outstanding Invoices I001016, I001020 and
I001021 reflecting shipments to Tube City under contracts other than the Sales
and Purchase Contract; and (iii) did Anza properly apply the remainder of the
funds from Tube City’s check to a shortfall in Tube City’s payment of Invoice
1001019 for the fourth and final shipment made under the Sales and Purchase
Contract?

c. If Tube City is entitled to recover the overpayment, does the Tribunal have the
power to grant punitive damages as requested by Tube City and, if so, is an award
of punitive damages for conversion appropriate in this case and what is th
quantum of such damages? l

d. What are the costs and expenses of and incidental to this arbitration and how
should such costs be allocated between the parties?

e. Whether legal fees and expenses are recoverable as part of the costs of the
arbitration and, if so, how much is owed and to which party?

 

Resp. PHB at 14.
See also TOR 1111 25-26.

As set forth below, it was common ground between the parties that Anza received
payment from Tube City for Invoice 1001007 in May 2010.

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THE TRIBUNAL’S ANALYSIS
A. Was the June 3, 2010 Check from Tube City to Anza an Overpayment?

Tube City claims that its check dated June 3, 2010 in the amount of $90,703.94 was an
overpayment to Anza for Anza’s Invoices 1001007, 1001014 and 1001018.

In order»to determine whether Tube City made an overpayment for Invoices 1001007,
1001014 and I001018, the Tribunal must Hrst determine whether those invoices had been
paid by Tube City prior to Anza’s receipt of the check. The Tribunal must then
determine whether it should have been clear to Anza when Anza received the check that
the check was intended to be applied to the same three invoices.

1. Were Anza’s Invoices I001007, I001014 and I001018 Paid by Tube City
Prior to June 2010?

Tube City claimed that its payments to Anza against the first three shipments under the
Sales and Purchase Contract were made as follows.5

 

 

 

 

 

Anza Invoice Invoice lnvoiced Payment by Payment Method of
No(s). date amount Tube City date Payment
1001007 4/2/2010 $28,395.97 $28,3 95 .97 5/20/2010 Wire
transfer
1001014 4/22/2010 $62,307.67 $62,307.67 5/19/2010 Letter of
1001018 Credit
1001007 - $90,703.94° 6/3/2010 Check
I001014
1001018

 

 

 

 

 

 

lt was common ground between the parties that Anza received the payment of $28,395.97
in respect of Invoice 1001007.7 However, it Was not until the hearing that it became clear
that Anza disputed having received the payment of $62,307.67 in respect of Invoices
1001014 and I001018 when Mr. Anza testified that Anza never received such a payment8

 

Cl. PHB at 3; Hruska Stmt. Ex. H.

Tube City’s witness Mr. Hruska testified at the hearing that the $0.30 discrepancy
between the total amount sought by Invoices I001007, 1001014 and 1001018 ($90,703.64)
and the amount of the check ($90,703.94) was the result of “rounding” by Tube City’s
accounting system. Cl. PHB at 5 n.7.

Resp. PHB at 3.

Procedural Order No. 3 dated Sept. 2, 2013 ‘l[ 9. See also Resp. PHB at 3. Mr. Anza is
the principal of Respondent Anza. Resp. Mem. at 2.

 

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ln the record at the time of the hearing was a “Wire Transfer Entry Review” printout
dated May 19, 2010 and claimed by Tube City to reflect the payment of $62,307.67 to
Anza.9 Anza submitted that the printout shows only that this sum was transferred from
one of Tube City’s bank accounts to another of its accounts.10

Following the hearing but prior to the submission of the parties’ Post-Hearing Briefs,
Tube City moved to supplement the evidentiary record in order to rebut Anza’s claim that
it never received the payment.l] Arguing that this claim was made for the first time at the
hearing and the interests of justice would be best served by allowing Tube City to
supplement the record with evidence to rebut it, Tube City sought to add to the record a
document entitled “Tube City Debit Notification”, which bears the date May 19, 2010
and appears to be from Bank of America (the “May 19 Debit Notification”).12

Anza opposed the addition to the record of the May 19 Debit Notification on several
grounds, including that the document should not be received after the close of the hearing
and that the document has no probative value and is inadmissible hearsay.13 Anza
disputed Tube City’s assertion that Anza claimed for the first time at the hearing that it
never received the wire transfer payment, arguing that the question of payments allegedly
made by Tube' City, and applied by Anza, has been at issue since the outset of the
arbitration14

Following the parties’ submissions to the Tribunal regarding the May 19 Debit
Notification, Tube City moved on August 26, 201-3 to include in the record pursuant to its
pending motion an email chain of the same date between John Potanko and John Malone
(the “Potanko/Malone Email Exchange”). The document indicates that these individuals-
are Tube City’s Manager of Global Treasury Operations and Executive Director for
Corporate Client Banking at JP Morgan respectively.15

 

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TUBE CITY 000437, submitted by Claimant as Hruska Stmt. Ex. H and by Respondent
as Resp. PHB Ex. 7.

Resp. PHB at 3-4.
Claimant’s Motion to Supplement the Evidentiary Record dated August 20, 2013.

This document was attached as Exhibit A to Claimant’s motion. See also Cl. PHB`, Ex.

,A.

Respondent’s Opposition to Claimant’s Motion to Submit Additional Evidence After the
Close of the Hearing dated August 22, 2013.

Id. at 2.

This document was attached to Claimant’s email to the Tribunal dated August 26, 2013.
See also Cl. PHB, Ex. B.

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Anza, in compliance with the Tribunal’s direction of August 23, 2013 that no further
submissions be made With respect to Tube City’s motion, did not address the
Potanko/Malone Email Exchange in briefing the motion, but addressed the document in
its Post-Hearing Brief as requested by the Tribunal in Procedural Order No. 3, making “a
similar argument” to that made in respect of the May 19 Debit Notiiicat:ion.16

ln granting Tube City’s motion to supplement the evidentiary record,` the Tribunal noted
that it was persuaded b Anza’s arguments as to the lack of probative value of the May
19 Debit Notiiication.l That document shows that Bank of America intended to debit
one of Tube City’s accounts for settlement of certain payments in connection with Letter
of Credit No. 64508670, which was the letter oft credit issued pursuant to the Sales and
Purchase Contract,18 for draft amounts corresponding to the sums due under Invoices
1001014 and I001018. It does not indicate whether the debits listed were in fact made or
whether the settlements pursuant to the letter of credit were completed.

'Fuming next to the Potanko/Malone Email Exchange, that document shows Mr.
Malone’s confirmation that JP Morgan “received the hinds and paid Anza Capital
Partners for the lc drawings of $55,285.54 and 7,022.13” in response to an enquiry from
Mr. Potanko requesting coniirmation of receipt by JP Morgan of $62,307.67 from Tube
City’s bank, Bank of America, on or around May 19, 2010 “as related to the attached
LC.” The document speaks directly to the issue of Whether Anza received the disputed
payment and evidences that it did.

As set forth above, the evidence presented by the parties on the issue of whether Anza
received $62,307.67 as payment for its Invoices I001014 and 10010-18 is limited. Mr.
Anza testified for the first time at the hearing that Anza never received the payment The
only probative documentary evidence on the issue, the Potanko/Malone Email Exchange,
was submitted by Tube City after the hearing » s

The Tribunal is persuaded by the evidence before it that Anza received a payment of
$62,307.67 ii'om Tube City in respect of Anza’s Invoices 1001014 and I001018 under the
letter of credit issued pursuant to the Sales and Purchase Contract. The Potanko/Malone
Email Exchange confirms that Anza received this payment in two drawings under the
letter of credit. Mr. Anza’s testimony that Anza never received the payment was given
for the Hrst time at the hearing and is at odds with the documentary evidence

 

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Resp. PHB at 12-13.
Procedural Order No. 3 11 10 n. 2.
Hruska Stmt. Ex. H, TUBE CITY 000070-73.

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Accordingly, the Tribunal finds that Anza received payment in respect of its Invoices
I001(1)£)7, I001014 and 1001018 prior to receiving the June 3, 2010 check nom Tube
City. -

2. Was Tube City’s Check a Payment in Respect of the Same Invoices?

In order to determine whether Tube City’s June 3, 2010 check Was intended to be a
payment in respect of Invoices 1001007, I001014 and 1001018 as Tube City claimed, the
Tribunal must next determine whether it should have been clear to Anza when Anza
received the check that the check was designated for these three invoices, which, as the
Tribunal has found, had already been paid by Tube Ci . '

As there is no reference on the face of the check to a particular invoice, shipment or
contract,20 this question turns on What documents, if any, accompanied the check issued
to Anza on June 3, 2010 when it was sent by Tube City to Anza that month. The
Tribunal requested the parties specifically to address this central issue of fact in their
Post-Hean'ng Briefs.”

It Was Tube City’s position that the check was accompanied by a settlement report
showing the transactions for which the check was designated, payment of which had
already been made.22 At the hearing, Tube City’s witness Mr. Hruska testified that it was
not Tube City’s practice either to include a reference on the face of its checks or to
enclose a cover letter indicating the transactions to which a check applied; rather, as a
matter of general practice every check issued by Tube City in the ordinary course of its
business was accompanied by a printed settlement report reflecting the transactions to
which the check applied, although Mr. Hruska did not recall whether a Settlement report
accompanied the check in this particular instance.H A copy of the settlement report that
Tube City claimed accompanied the check was provided to the Tribunal.24 Tube City
submitted that “[t]he dates, amounts paid, and container)'vehicle ID numbers on the
settlement report which accompanied the overpayment check match perfectly with

 

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As noted above, it was common ground between the parties that Anza received a
payment of $28,395.97 in respect of Invoice 1001007.

Hruska Stmt. Ex. H, TUBE CITY 000434.
Procedural Order No. 3 11 12(a).
Cl. PHB at 5.

Id. Mr. Hruska Was Tube City’s Domestic & lntemational Credit Manager between 2000
and 2011. ln that role, he administered and managed the financing, accounting and
billing of all of Tube City’s international transactions, including the transactions at issue
in this case. Hruska Stmt. 11 4.

Hruska Stmt. Ex. H, TUBE CITY 000435-36.

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information listed on three invoices Anza submitted under the first contract [the Sales and
Purchase Contract].”25

Anza’s position was that no documents accompanied Tube City’s check for $90,703.94
when it was received by Anza in June 2010. At the hearing, Mr. Anza testified that no
documents of any kind accompanied the check.26

The Tribunal notes that very little evidence was put before it on this important issue and
limited cross examination on the issue was conducted at the hearing. Taking into account
the evidence before it, the Tribunal finds that the check for $90,703.94 sent by Tube City
to Anza was accompanied by a settlement report showing the shipments to which the
check applied. Notwithstanding that Mr. Hruska could not recall this particular instance,
he testified that Tube City had a business practice of including documentation with
checks indicating the shipments for which payment was intended; the specific
documentation that was said to have accompanied the check at issue in this case is before
the Tribunal. Mr. Anza simply stated, without more, that no documentation accompanied
the check. The Tribunal has carefully examined the submissions of the parties and the
evidence presented on this issue from as many angles as were raised by the parties and is
persuaded that Tube City’s general business practice was followed in this instance,
particularly given that‘the check was for a nearly six figure sum.

Accordingly, the Tribunal ends that the check dated June 3, 2010 was an overpayment by
Tube City in respect of Anza’s Invoices 100100'1, 1001014 and I001018. Anza received
together with the check a settlement report indicating that the check was issued in
connection with shipments for which payment had already been made by Tube City.

B. Is Tube City Entitled to Recover the Overpayment?

New York law permits the recovery of money paid under a mistake of a material fact,
although there was negligence on the part of the person making the payment, unless the
position of the party receiving it has been changed in consequence of the payment, and it
would be inequitable to allow a recovery.27

In determining whether Tube City is entitled to recover the overpayment, the Tribunal
considers each of these elements in tum.

 

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Cl. PHB at 5 n.7.
Resp. PHB at ll.

Mayer v. The Mayor, 63 N.Y. 455, 457 (N.Y. 1875), relied upon by Tube City. See Cl.
Mem. at 2; Cl. PHB at 9.

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1. Was There a Mistake of Material Fact?

Tube City claimed that the check was issued to Anza inadvertently and mistakenly28
Tube City’s witness Mr. Hruska testified at the hearing that the overpayment occurred
because of human error.29

Anza disputed that Tube City inadvertently overpaid Anza, Following cross examination
of Mr. Hruska, Anza submitted that it is inconceivable that Tube City’s accounts payable
department was not aware of the earlier payments in respect of Invoices 100100'}',
1001014 and 1001018 when it issued the check given that the earlier payments would
have been entered in the departmeut’s computer records.30

The Tribunal accepts Mr. Hruska’s testimony that the overpayment occurred because of
human error and finds that the overpayment to Anza was based on a mistake of fact,
namely the amount actually owed by Tube City to Anza for Invoices 1001007, 1001014
and 1001018 as of June 3, 2010. This fact is at the center of the case and is undoubtedly
material. That Mr. Hruska was unable to provide an explanation of how the same
invoices were paid twice by the same department is consistent with a mistake having
been made. That Tube City’s issuance of the check constituting the overpayment may
have been neglith does not bar recovery.31

2. c WasAnza’s Position Changed?

It was common ground between the parties that Anza’s position was changed as a
consequence of receiving the check from Tube City. Anza submitted that the
overpayment had already been used for Anza’s business purposes when Tube City sought
its ret\n‘n and therefore Anza’s position had changed32 Tube City did not dispute that
there was a change in Anza’s position due to the overpayment33

 

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Cl. Mem. at 2.
Cl. PHB at 5.
Resp. PHB at 7 n.5.

Chiofalo v. Ridgewood Savings Bank, 11 Misc.3d 899, 907 (Civ. Ct. Queens Co. 2006),
relied upon by Anza. See Resp. Reply at 2. " `

Resp. Reply at 4-5.

Cl. PHB at 12. Rather, Tube City argued that Anza’s position had not so changed as to
make repayment inequitable Id. The Tribunal considers this argument below,

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The Tribunal finds that Anza’s position was changed as a consequence of receiving the
check. Such a change in position will not bar recovery unless recovery also Would be
inequitable34 '

3. Would It Be Inequitable to Allow Recove)y?

Anza argued that it would be inequitable to permit Tube City to recover the overpayment
on three grounds. First, Anza claimed a delay by Tube City in notifying it of the
overpayment, arguing that Tube City did so for the first time in January 2011, some
seven months after rI`ube City tendered its check to Anza and Anza applied the funds to
invoices alleged by Anza to have been outstanding at that time.35 Second, Anza claimed
that the funds were properly applied to Anza’s open Invoices 1001016, 1001020 and
1001021.35 Finally, Anza claimed that tltre remaining funds from the check were properly
applied as a partial payment against Anza’s Invoice 1001019.37 The Tribunal will
consider each of these claims in turn. '

Anza submitted that it was first advised by Tube City that Tube City was claiming to
have made an overpayment by letter to Mr. Anza from Jamie Miller, Tube City’s North
American Credit and Accounts Payable Manager.g’8 On cross examination, Anza’s
counsel questioned '1` ube City’s witnesses about the account reconciliation that was
allegedly performed by Tube City and prompted the letter. Both Mr. Hruska and Ms.
Rippel testified that they were not personally involved in the account reconciliation39

Tube City claimed that its notification of the overpayment to Anza was timely.4a Mr.
Hruska testified at the hearing that Ms. Miller was out of the office on maternity leave
from Spring 2010 through September 2010 and that although she was absent at the time
of the overpayment, she discovered it quickly upon her return in October 2010. Tube
City pointed to Ms. Miller’s letter which states that Ms. Miller left several messages to
discuss repayment with no return call. Mr. Hruska also testified that he discussed the
overpayment in late 2010 with his counterpart at Anza, Fabian Olsson.

 

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Mayer, 63 N.Y. at 457.

Resp. PHB at 7-9.

Id. at 4-6.

Id. at 9-10.

Id. at 8 n.8.

Id. at 7 & n.6. Ms. Rippel is Tube City’s Senior Business Manager, a position she has
held since 2007. ln that position, she is responsible for executing Tube City’s
international trading business. Rippel Decl. 11 l.

Cl. PHB at 5-6.

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The Tribunal first considers the documentary evidence on this issue. The first written
communication from Tube City to Anza regarding _the overpayment provided to the
Tribunal is the letter to Mr. Anza from Ms. Miller dated January 20, 2011, more than
seven months after the check was issu'eti.41 The letter refers to Ms. Miller having left
several messages to discuss repayment, which messages must have predated the letter.
However, Tube City did not call Ms. Miller as a witness and it is unknown to the
Tribunal when, if at all, these messages might have been left. Moreover, Mr. Anza '
testified at the hearing that he did not receive any such messages from Ms. Miller. The
Tribunal notes that Mr. Hruska testified at the hearing that he discussed the overpayment

' with Anza’s Mr. Olsson in late 2010 and Mr. Anza testified that he was not aware of such

a conversation Accordingly, the Tribunal accepts that the first notification to Anza by
Tube City regarding the overpayment occurred on or around January 20, 2011.

ln considering the time it took for Tube City to notify Anza of the overpayment, the
Tribunal recalls its earlier finding that a settlement report indicating the transactions to
which the check applied_-for which Tube City had already paid-accompanied the
check when it was sent to Anza in June 2010. Therefore, although it appears that Ms.
Miller’s being on leave caused some delay in the overpayment being formally notified to
Anza, it should have been apparent to Anza upon receipt of the check that Tube City had
made an overpayment The Tribunal finds that in such circumstances a delay of several
months by Tube City in notifying Anza of the overpayment is not so long as to render it
inequitable to permit recovery of the overpayment

The Tribunal now turns to Anza’s arguments with respect to the alleged open invoices to
which Anza claimed that it applied the check (its Invoices I001016, 1001020 and
1001021) and the alleged delinquency in respect of its Invoice 1001019 to which Anza
claimed the check was also applied. Given that the Tribunal has found that
documentation was included with the check showing the transactions to which the check
was to be applied, Anza was not at liberty to apply the funds to transactions other than
those indicated on the settlement report (namely, the transactions shown on Invoices
1001007, 1001014 and 1001018). Consequently, the Tribunal need not address the
validity of` Anza’s Invoices 1001016, 1001020 and 1001021, which was disputed by Tube
City, or whether there was a shortfall in Tube City’s payment of Invoice 1001019, which
Tube City also disputed. Even if the Tribunal were to agree with Anza that sums were
outstanding in respect of those four invoices, this would not render it inequitable to allow
recovery of the overpayment in circumstances where it should have been clear to Anza
from the settlement report that accompanied the check that the check was intended to be
applied to different invoices.

Accordingly, the Tribunal finds that Tube City is entitled to recover from Anza its
overpayment of $90,703.94.

 

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Hruska Stmt. Ex. D, TUBE CITY 000433.

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C. Is Tube City Entitled to Punitive Damages for Conversion?

Tube City sought punitive damages for Anza’s alleged conversion of its overpayment to
Anza in respect of lnvoices 100100?, 1001014 and I001018. Anza claimed that there has
been no conversion and Tube City is not entitled to punitive damages. Anza further
claimed that the Tribunal does not have the power to award punitive damages.

The Tribunal first considers Anza’s challenge to its authority to award punitive damages.

Anza argued that “the contract between the parties (which provides for arbitration) does
not permit any award of ‘punitive damages’ or grant the tribunal the power to award such
exemplary damages.”‘w' lt was Tube City’s position that “[j]ust because the contract does
not expressly contemplate punitive damages is of no consequence as the contract does
not expressly allow compensatory damages either.”43 Tube City pointed to the parties’
choice of New York law in their contract and cited New York case law for the
proposition that punitive damages are proper in a conversion action.44 Neither party
offered legal authority in support of its position with respect to the authority of
arbitrators, as opposed to courts, to award punitive darnages. »

In Mastrobuono v. Shearson Lehman Hutton, Inc., the U.S. Supreme Court resolved
doubts as to the authority of arbitrators to award punitive damages in favor of the
arbitrability of punitive damages claims.45 The parties’ contract in that case contained an
arbitration clause providing for arbitration pursuant to the rules of the National
Association of Securities Dealers (the “NASD”) and a choice-of-law clause selecting
New York law. Neither clause made mention of punitive damages. In determining
whether a claim of punitive damages was arbitrable under the parties’ contract, the
Supreme Court held that the Federal Arbitration Act (the “FAA”) preempted New York’s
state law public policy forbidding the arbitrability of punitive damag:s claims articulated
by the New York Court of Appeals in Garrity v. Ly!e Smar!, Inc. The Court treated
New York’s Garrizfy rule as an instance of a state law reii.lsal to give effect to an
agreement to arbitrate (specitically, an agreement top arbitrate punitive damages claims),
which was preempted by the FAA’s requirement that arbitration agreements be
recognized and enforced in accordance with their terms.47 In finding the punitive

 

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Resp. Reply at 2.

Cl. PHB at 13.

Id.

514 U.S. 52 (U.S.1995).
353 N.E.Zd 793 (N.Y. 1976).

Mastrobuono, 514 U.S. at 58. The Supreme Court also held that the parties’ New York
choice-of-law agreement did not have the eH`ect of incorporating New York`s public
policy against the arbitrability of punitive damages claims into the parties’ arbitration
agreement Ia'. at 61, 68-69.

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damages claim arbitrable, the Court relied on the parties’ agreement to arbitrate under the
NASQsCode, which provided generally that arbitrators could award damages and other
relief.

As in Mastrobuono, the FAA applies to the arbitration agreement at issue in this dispute.
The FAA governs arbitration agreements in contracts that involve interstate commerce
within the meaning of die srainie.“’ cene1uded between a Delaware limited liebdiiy
company and a New York limited liability company, the Sales and Purchase Contract
provides for the sale and purchase of scrap metal to be transported from Puerto Rico and
the Dominican Republic to Taiwan. As such, it involves interstate commerce.

Although the Tribunal is not aware of any decisions by U.S. courts addressing the
arbitrability of punitive damages claims under arbitration agreements incorporating the
ICC Rules, it considers the holding in Mastrobuorio equally applicable here. Article 13
of the Sales and Purchase Contract makes no mention of punitive damages and provides
for the ICC Rules to govern arbitration The ICC Rules include broad, unqualified
references to relief similar to those in the NASD Code.50 Accordingly, following the
reasoning in Mastrobuono, the Tribunal reads the arbitration agreement between Tube
City and Anza as permitting an award of punitive damages based on the parties’ selection
ofthe rcc Rules. 1

Given that the Tribunal has the power to award punitive damages under the parties’
arbitration agreement, I turn next to the question of whether punitive damages are
available in this case. Tube City claimed punitive damages in respect of an alleged
conversion by Anza and submitted that punitive damages may be awarded in an-action
for conversion under New York law.52 Anza did not dispute that such damages may be
availables§or conversion; rathcr, it took the position that no cause of action for conversion
lies here.

 

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Mastrobuono, 514 U.S. at 61, 68-69.

9 U.S.C. §1.

See, e.g., ICC Rules, Arts. 23, 31.

This is so notwithstanding the parties’ New York choice-of~law clause, which should be
read “to encompass substantive principles that New York courts would apply, but not to
include special rules limiting the authority of arbitrators” such as the rule in Garrity.
Mastrobuono, 514 U.S. at 64.

Cl. PHB at 13.

Resp. Reply at 2-3.

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The Tribunal finds that under New York law punitive damages are available for
conversions4 I must now consider whether there has been a conversion as Tube City
contended.

The elements of conversion as articulated by the New York Court of Appeals are “(l)
plaintiffs possessory right or interest in the property . . . and (2) defendant’s dominion
over the property or interference with it, in derogation of plaintiff s rights.”55

ln applying these elements to the case at'hand, the Tribunal finds instructive the decision
of the U.S. District Court for the Southern District of New York in Vanderbilt University
v. Dipsters C'¢r)rporrrtz`orz.56 ln that case, the undisputed facts were as follows.57 The
University placed a purchase order with Dipsters for five pieces of athletic equipment
The actual purchase price for these items came to a total of $109.20. However, the
University purchase order mistakenly stated that the total purchase price was $69,521.20.
Dipsters’ invoice accompanying its delivery of` the equipment also reflected that incorrect
price. The University paid $69,521.20 to Dipsters by check. A University employee
later contacted Dipsters’ president to call the overpayment to his attention. Dipsters’
president agreed that an overpayment had been made and issued a credit memo to the
University for the amount of the overpayment However, no repayment of any part of

that amount was made by Dipsters.

On these facts, the Court found that Dipsters had converted the funds, holding that “it is
well-settled that an action will lie under New York law for conversion Where there is an
obligation to return or otherwise treat in a particular manner the specific money in
question, . . . , and that money is ‘specifically identifiable.”’58 ~

Anza, having received a settlement report with Tube City’s June 3, 2010 check indicating
the transactions to which the check was to be applied, was therefore required to apply the
money to those transactions (which it could not do as payment for them had already been
received) or to return the money. Anza did not return the money.

 

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In re Sattler’s, Inc., 73 B.R. 780, 792 (Bankr. S.D.N.Y. 1978), relied upon by Tube City.
See Cl. Mem. at 5; Cl. PHB at 13. '

Colavito v. New York Organ Donor Network, Inc., 8 N.Y.3d 43, 50 (N.Y. 2006), cited in
House ofDiamonds v. Borgiom', LLC, 737 F.Supp.Zd 162, 167 (S.D.N.Y. 2010), relied
upon by Tube City. See Cl. Mem. at 4.

1986 WL 10471 (S.D.N.Y. Sept. 17, 1986), relied upon by Tube City. See Cl. Mem. at 5;
Cl. PHB at 12.

As stated in the opinion, Vanderbilt University, 1986 WL 10471 at *l, the facts are
recounted in an earlier opinion in the same case. See Vanderbz`lt University v. Dipsters
Corporation, 1985 WL 9366, *1 (S.D.N.Y. July 2, 1985).

Vanderbilt Universily, 1986 WL 10471 at *3.

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Anza submitted that Tube City’s conversion claim may not succeed because Tube City
failed specifically to identify any converted property59 Tube City took the position that
the check was specifically identified60 The Tribunal rejects Anza’s submission that there
was no taking of specific property. Under New York law, funds paid by check are
specifically identifiable and may be the subject of a conversion claim.6

Anza further submitted that the failure to repay the funds was simply a breach of contract
by Anza and that a cause of action for conversion cannot be predicated on a mere breach
of contr'act.62 Tube City took the position that the overpayment was extra-contractual, as
by the time that Anza received Tube City’s check Anza’s shipments and Tube City’s
payments under the Sales and Purchase Contract were already complete-‘s?' The Tribunal
Hnds that Anza’s retention of the overpayment was not a breach of contract because
payment for the transactions listed on Invoices 1001007, I001014 and 1001018, for which
the settlement report accompanying the check designated the iimds, had already been
made when the check was received by Anza.

The Tribunal therefore finds that Anza converted the check by failing to return the funds
when it was unable to apply the funds to the transactions for which they were designated,
as payment for those transactions had already been made.

Punitive damages may be recovered for conversion where “the conversion was
accomplished with malice or reckless disregard of plaintiffs’ rights.”64 The remedy is
discretionary, as acknowledged by Tube City.65

Tube City claimed that punitive damages should be awarded because Anza acted in
reckless disregard of Tube City’s rights to the overpayment66 Anza claimed that the

 

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Resp. Reply at 3.

Cl. PHB at 12-13.

Vanderbilt University, 1986 WL 10471 at *3.
Resp. Reply at 3.

Cl. PHB at 13,

In re San‘ler's, Inc., 73 B.R. at 792.

Cl. Mem. at 5; Cl PHB at 13, See also T albert v. Queens College, 242 F.3d 58, 77 (2d
Cir.2001) (“An award of punitive damages is ‘a discretionary moral judgment’ that the
defendant has engaged in conduct that is so reprehensible that it warrants punishment.”).

Cl. PHB at 13.

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fimds from the check were properly applied to Anza’s open Invoices I001016, I001020
and I001021 and as a partial payment against Anza’s Invoice I001019.67

The Tribunal declines to exercise its discretion to award punitive damages in this case,
Although the Tribunal has found against Anza, Anza’s position throughout this
arbitration was that it believed it had a right to the overpayment ln such circumstances,
Anza’s exercise of dominion over the overpayment did not amount to malice or reckless
disregard of Tube City’s rights.

Having concluded that an award of punitive damages is not appropriate in this case, the
Tribunal does not address the quantum of such damages.

D. Costs

The parties’ arbitration agreement provides that “[t]he losing party shall pay the
arbitration fee,”68 lt falls to the Tribunal to determine what costs constitute the
“arbitration fee,” as this term is not defined in the Sales and Purchase Agreement

Neither party made submissions on how the term “arbitration fee” should be interpreted

Tube City requested an award of “1ts reasonable attorneys’ fees and costs.”69 Anza
requested that “the administrative costs and arbitrator’s fee of this proceeding be

- apportioned 100% to, and borne solely by, Claimant; . . . and ACP be awarded its

reasonable attorney’s fees and costs.”70

For guidance on interpreting the term “arbitration fee,” the Tribunal looks to the ICC
Rules, which the parties chose to govern arbitration under their agreement71

Article 37(1) of the ICC Rules defines the “costs of the arbitration” as including “the fees
and expenses of the arbitrators and the ICC administrative expenses fixed by the Court”
as well as ‘“the reasonable legal expenses and other costs incurred by the parties to the
arbitration.”

In light of the parties’ selection of the ICC Rules in their arbitration agreement, the
Tribunal interprets “arbitration fee” in Article 13(2) of the Sales and Purchase Contract
and “costs of the arbitration” in Article 37(1) to be coextensive The “arbitration fee”
includes the costs of the arbitration fixed by the ICC Court and the reasonable legal and
other costs incurred by the parties.

 

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Resp. PHB at 4-6, 9-10.

Sales and Purchase Contract, Art. 13(2).
Cl. PHB at 14.

Resp. PHB at 14.

Sales and Purchase Contract, Art. 13(1).

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The parties’ specific agreement with respect to costs in Article 13(2)-namely, that they
shall be paid by the losing party-overrides the Tribunal’s power under the ICC Rules to
apportion costs as between the parties.72 Tube City has prevailed on its main claim for
return of the overpayment Anza is therefore the losing party.

As required by Article 37(4) of the ICC Rules, the Tribunal proceeds to fix the costs of
the arbitration '

1. Costs of the Arbitration Fixed by the ICC Court

The Court, at its session of January 30, 2014, Exed the administrative expenses and the
arbitrator’s fees at $49,402.00. The arbitration expenses for this case are $598.00.
Hence, the total costs of the arbitration erd by the ICC Court are $50,000.00.

This amount is covered by the advance on costs, which was paid in its entirety by Tube
City.

Accordingly, Anza,, as the losing party, is ordered to pay to Tube City $50,000.00
comprising the total arbitrator fees and expenses and ICC administrative expenses.

2. Legal and Other Costs
The Tribunal now addresses the reasonable legal and other costs incurred by the parties.

Tube City’s legal and other costs total $87,022.00.73 Anza’s legal and other costs total
$62,867.22.74 '

The Tribunal does not find the parties’ legal and other costs to be unreasonable Neither
party has suggested that the other’s claimed costs are in any way erroneous or excessive
The mere fact that Tube City’s costs were greater than Anza’s does not render Tube
City’s costs unreasonable

Accordingly, Anza, as the losing party, is ordered to pay Tube City’s reasonable legal
and other costs totaling $87,022.00.

THE TRIBUNAL’S AWARD

For all of the reasons set forth above, and rejecting all submissions to the contrary, the
Tribunal finds, declares and awards as follows.

a. The check dated June 3, 2010 issued by Claimant to Respondent in the amount of
$90,703.94 was an overpayment by Claimant_in respect of Respondent’s Invoices

 

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ICC Rules, Art. 37(4).
Cl. Aff. of Costs 11 3.

Resp. Aff. of Costs 11 2.

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I001007, I001014 and I001018, which had already been paid by Claimant when
Respondent received the check. .

b. Respondent shall pay to Claimant forthwith upon notification of this award the
sum of $90,703.94, being the quantmn of the overpayment that Respondent must
reimburse to Claimant

c. Although the Tribunal finds that Respondent converted the overpayment, the
Tribunal declines to exercise its discretion to grant punitive damages in this case.

d. As required by the parties’ arbitration agreement, the costs of the arbitration shall
' be borne by Respondent as the losing party.

e. Respondent shall pay to Claimant forthwith upon notification of this award the
sum of $137,022.00, being: _

i. The costs of the arbitrau'on fixed by the ICC Court in the sum of
$50,000.00; and

ii. Claimant’s reasonable legal and other costs in the sum of $87,022.00.

f. Any and all other claims made in this arbitration are dismissed.

Place of arbitration: New York, New York (U.S.A.)
Date: Februaryéz,- 2014

 

Emma Lindsay, Esq.
(S ole Arbitrator) ,i‘

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